  Case 1:96-cr-00114-RBK Document 633 Filed 01/16/15 Page 1 of 1 PageID: 40




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


UNITED STATES,                            :
                                          :
      Plaintiff,                          :                    Crim. No. 96-0114 (DRD)
                                          :
      v.                                  :                    ORDER
                                          :
VICTOR GONZALEZ,                          :
                                          :
      Defendant.                          :
__________________________________________:


       For the reasons set forth in an Opinion of even date,

       IT IS on this 16th day of January, 2015, ORDERED that Defendant’s motion (ECF No. 631)

to amend the judgment of conviction is DENIED.


                                                     s/Dickinson R. Debevoise
                                                    DICKINSON R. DEBEVOISE
                                                          U.S.S.D.J.
